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                                                 10

                                                 11
                                                                        UNITED STATES DISTRICT COURT
                                                 12                    CENTRAL DISTRICT OF CALIFORNIA
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                                                 13
                                                      PARAMOUNT PICTURES                  CASE NO. 2:19-cv-01156
                     B E V E R LY H I L L S




                                                 14   CORPORATION; COLUMBIA
                                                 15   PICTURES INDUSTRIES, INC.;          DEFENDANTS’ REPLY TO
                                                      DISNEY ENTERPRISES, INC.;           PLAINTIFFS’ OPPOSITION TO
                                                 16   TWENTIETH CENTURY FOX               DEFENDANTS’ MOTION TO SEVER,
                                                 17   FILM CORPORATION; WARNER            FOR A MORE DEFINITE
                                                      BROS ENTERTAINMENT, INC.;           STATEMENT, AND TO STRIKE
                                                 18   UNIVERSAL CITY STUDIOS
                                                 19   PRODUCTIONS LLLP;                   Hon. Dolly M. Gee
                                                      UNIVERSAL TELEVISION LLC;
                                                 20   and UNIVERSAL CONTENT               Hearing Date: May 24, 2019
                                                 21   PRODUCTIONS LLC,                    Time: 9:30 a.m.
                                                                                          Courtroom: 8C
                                                 22                  Plaintiffs,
                                                 23       v.
                                                      OMNIVERSE ONE WORLD
                                                 24
                                                      TELEVISION, INC.; JASON M.
                                                 25   DEMEO,
                                                 26
                                                                     Defendants.
                                                 27

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                                                  1         Defendants Omniverse One World Television, Inc. and Jason M. Demeo
                                                  2   (collectively, “Omniverse”) submit this Reply to Plaintiffs’ Opposition (DE #34) to
                                                  3   Omniverse’s Motion to Sever, for a More Definite Statement, and to Strike
                                                  4   Scandalous and Immaterial Portions of the Complaint (DE #30).
                                                  5   I.    INTRODUCTION
                                                  6         Omniverse’s motion to sever, for a more definite statement, and to strike
                                                  7   should be granted because it serves the best interests of the Court to have the claims
                                                  8   clearly defined so that the issues can be litigated efficiently and economically.
                                                  9         First, Plaintiffs must make a more definite statement because of the mishmash
                                                 10   of unintelligible allegations in the Complaint creates too much uncertainty for
                                                 11   Defendants to properly answer the Complaint. Plaintiffs argue that Complaint does
                                                 12   not make reference to the agreement between Hovsat and DirecTV (the “Hovsat-
                                                      DirectTV agreement”), but that is exactly what is alleged in the Complaint. For
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                                                 14   example, Plaintiffs allege that “Defendants encourage downstream services to rely
                                                 15   on Omniverse as the source for content by, among other things, falsely representing
                                                 16   that Omniverse is licensed to stream Plaintiffs’…Copyrighted Works” (Compl. ¶ 30
                                                 17   (emphasis added).) Omniverse cannot properly prepare its defenses not knowing if
                                                 18   Plaintiffs are disputing the scope of the Hovsat-DirectTV agreement or alleging
                                                 19   copyright infringement.
                                                 20         Secondly, Omniverse’s motion to sever Plaintiffs’ copyright claims should be
                                                 21   granted because Plaintiffs have not alleged copyright claims arising out of the same
                                                 22   transaction, occurrence, or series of transactions or occurrences. Since it is still
                                                 23   unclear whether piracy is at issue, Plaintiffs’ copyright allegations do not share a
                                                 24   similarity in the factual background beyond stating Omniverse publicly performing
                                                 25   the shared copyrights. The copyright claims involve eight Plaintiffs with varying
                                                 26   libraries of copyrighted properties. There are unique questions of fact and law that
                                                 27   affect the copyright claims, which Plaintiffs fail to address relating to how the
                                                 28   material was copied. Although joinder is more convenient for Plaintiffs, joinder is
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                                                  1   fundamentally unfair to Omniverse.
                                                  2         Third, the Court should also strike portions of the Complaint because the
                                                  3   unnecessary and improper comparisons between Omniverse and Dragon Box are not
                                                  4   only scandalous and immaterial, the comparisons profoundly muddy the issues for
                                                  5   litigation. Plaintiffs justify the comparisons on the premise that there is a business
                                                  6   relationship between Omniverse and Dragon Box, using a declaration from a wholly
                                                  7   unrelated case involving different parties. A relationship between two companies is
                                                  8   not a basis for equating them in the Complaint.
                                                  9         More importantly, Dragon Box has no possible bearing on the subject matter
                                                 10   of the litigation with Omniverse. The only reason Plaintiffs repeatedly refer to
                                                 11   Dragon Box to describe Omniverse’s operations is to purposefully confuse the issues
                                                 12   at hand. As Dragon Box has no relevance to the claims against Omniverse, Plaintiffs
                                                      resort to arguing that Dragon Box is relevant to Omniverse’s state of mind, but such
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                                                 14   an argument fails on its face because the two entities are entirely unrelated.
                                                 15         For the reasons stated, Omniverse’s motion to sever, for a more definite
                                                 16   statement, and to strike must be granted.
                                                 17   II.   ARGUMENTS
                                                 18         A.  The Complaint Should be More Definite

                                                 19         The Complaint is unintelligible because it is not “specific enough to apprise

                                                 20   [Omniverse] of the substance of the claim asserted against [Omniverse].” San

                                                 21   Bernardino Pub. Employees Ass'n v. Stout, 946 F. Supp. 790, 804 (C.D. Cal. 1996).

                                                 22   As is, Omniverse does not know whether it is (1) accused of piracy, or (2) it is accused

                                                 23   of exceeding the scope of the distribution agreement that Hovsat has with DirecTV

                                                 24   under which Omniverse engages in marketing, or (3) both. The framing of a proper

                                                 25   defense is very different under each of these scenarios.
                                                 26                1.    The Complaint Refers to the Hovsat-DirecTV Agreement
                                                 27         Plaintiffs argue in their Opposition that “[t]he complaint contains no
                                                 28   allegations whatsoever regarding Hovsat.” (Opp. at p. 8.) While not literally

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                                                  1   mentioned by name, the Complaint implicitly refers to the Hovsat-DirecTV

                                                  2   agreement twice. Paragraph 30 of the Complaint implicitly refers to the Hovsat-

                                                  3   DirecTV agreement as follows:

                                                  4                 Defendants encourage downstream services to rely on
                                                                    Omniverse as the source for content by, among other
                                                  5                 things, falsely representing that Omniverse is licensed to
                                                  6                 stream Plaintiffs’ (and other copyright holders’)
                                                                    Copyrighted Works and that Omniverse can sublicense
                                                  7                 those rights to downstream services….Defendant DeMeo,
                                                  8                 has represented that he has the licenses, but has declined to
                                                                    provide me and my counsel with a declaration or with a
                                                  9                 physical copy of the licenses.
                                                 10
                                                      (Compl. ¶ 30 (emphasis added) (quotation omitted).)
                                                 11
                                                             Paragraph 31 further implicitly refers to the Hovast distribution agreement:
                                                 12
                                                                    DeMeo reportedly answered that Omniverse had “acquired
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                                                 13                 rights to some of these channels including the ability to
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                                                 14                 stream outside by a contract that is only one of three such
                                                                    contracts in the United States.” DeMeo refused to “give too
                                                 15                 many details” because “it could help others figure out how
                                                 16                 to track down the last two contracts like the one they use.”
                                                 17   (Compl. ¶ 31 (citation omitted).) As such, Plaintiffs themselves have put the question
                                                 18   of the Hovsat-DirecTV agreement at the center of the case.
                                                 19          Omniverse did not raise the Hovsat-DirecTV agreement “to derail this
                                                 20   litigation with factual assertions contrary to the complaint and unsupported by
                                                 21   evidence” as Plaintiffs argue in the Opposition. (Opp. at p. 5.) As the Complaint
                                                 22
                                                      itself implicitly raises the Hovsat-DirecTV agreement within its own four corners, it
                                                 23
                                                      is disingenuous for Plaintiffs to argue that the Court should ignore it and not take
                                                 24
                                                      judicial notice of it.
                                                 25
                                                             The Complaint also refers to Omniverse’s operations under the Hovsat-
                                                 26
                                                      DirecTV     agreement.    Specifically,   the    Complaint   refers   to Omniverse’s
                                                 27
                                                      representations regarding its operation under the Hovsat-DirecTV agreement. In
                                                 28
                                                      Paragraph 3, the Complaint refers to Omniverse and its distribution:
                                                                                                 -3-
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                                                  1                Defendants apparently misrepresent to these downstream
                                                                   services that Omniverse has authority to “license”
                                                  2                copyrighted motion picture and television programming
                                                  3                content, including Plaintiffs’ Copyrighted Works.
                                                                   Omniverse has no such sub-licensing rights, and thus
                                                  4                cannot authorize the downstream series to publicly perform
                                                  5                Plaintiffs’ Copyrighted Works to their retail customers.

                                                  6   (Compl. ¶ 3.)
                                                  7
                                                            Paragraph 32 of the Complaint further states:
                                                  8
                                                                   Plaintiffs have not granted license that permit Defendant
                                                  9                DeMeo or Omniverse to stream the Copyrighted Works or
                                                 10                sublicense streams to whatever counterparty they wish.
                                                 11   (Compl. ¶ 3 (emphasis omitted).) The repeated references to licenses within the four
                                                 12   corner of the Complaint make it impossible to ignore the allegations that appear to
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                                                 13   make license an issue in the case.
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                                                 14                2.     The    Complaint      Is     Unintelligible   Because   It   Makes
                                                 15                       Ambiguous Contract Allegations
                                                 16         Although Plaintiffs do not directly name the Hovsat-DirecTV Agreement,
                                                 17   Paragraphs 3 and 32 of the complaint apparently contest the scope of the Hovsat-
                                                 18   DirecTV agreement. Specifically, Plaintiffs apparently allege that Omniverse has “no
                                                 19   sub-licensing rights” (Compl. ¶ 3) and that Omniverse cannot “sublicense streams to
                                                 20   whatever counterparty they wish.” (Compl. ¶ 32.) Because these repeated references
                                                 21   are to an agreement that Plaintiffs themselves are asking the Court to ignore,
                                                 22
                                                      Plaintiffs must make clear whether the Hovsat-DirecTV agreement is at issue.
                                                 23
                                                      Plaintiffs must make it clear whether they are alleging that Omniverse alleged
                                                 24
                                                      conduct is a breach of the Hovsat-DirecTV agreement. And more specifically,
                                                 25
                                                      Plaintiffs must make it clear whether the areas of the Hovsat-DirecTV agreement that
                                                 26
                                                      are at issue include sub-licensing rights and service limitations. Omniverse cannot
                                                 27
                                                      formulate a proper response to Plaintiffs’ allegations because the Complaint contains
                                                 28
                                                      allegations that are open to wildly different interpretations.
                                                                                                 -4-
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                                                  1   The Opposition argues that the contract and licensing issues raised by the Hovsat-

                                                  2   DirecTV agreement “relate solely to affirmative defenses.” (Opp. at p. 6 (citation

                                                  3   omitted).) Omniverse is requesting Plaintiffs make their Complaint more definite

                                                  4   because this issue is raised within the Complaint itself. The fact that licensing is an

                                                  5   affirmative defense does not change the issues raised within the Complaint.

                                                  6   Plaintiffs miscite WB Music Corp. v. Futuretoday, Inc., No.

                                                  7   218CV01238CASFFMX, 2018 WL 4156589 (C.D. Cal. Aug. 28, 2018), because

                                                  8   WB Music referred to “potential affirmative defenses.” Id. at *2 (emphasis added).
                                                  9   Here, Plaintiffs have raised the scope of the Hovsat-DirecTV agreement within
                                                 10   their own Complaint. Additionally, Plaintiffs’ citation of WB Music is weak
                                                 11   because it is an unpublished Westlaw citation.
                                                 12         Given the fundamental ambiguity in the Complaint, the Complaint is
                                                      unintelligibe because the allegations potentially read on both copyright infringement
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                                                 14   and contract interpretation. Therefore, Plaintiffs should be ordered to amend their
                                                 15   Complaint to provide a more definite statement.
                                                 16         B.     Plaintiffs Should Be Severed
                                                 17         Plaintiffs have not made sufficient allegations in the Complaint to support
                                                 18   joinder under any theory of copyright liability. Plaintiffs have not established how
                                                 19   the claims “arise out of a systematic pattern of events and, therefore, arise from the
                                                 20   same transaction or occurrence” or how each of Plaintiffs’ claims involve the same
                                                 21   “legal issues, standards, and procedures” that require “personalized attention.”
                                                 22   Coughlin v. Rogers, 130 F.3d 1348, 1350-51 (9th Cir. 1997).
                                                 23         1.     Plaintiffs Have Not Alleged How Copyright Infringement Arises
                                                 24                Out of the Same Transaction, Occurrence, or Series of Transactions
                                                 25                or Occurrences
                                                 26         Plaintiffs contend that joinder is proper because they have alleged “public
                                                 27   performances of their copyrighted content to the public without authorization by
                                                 28   streaming live television content over the internet to consumers through downstream

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                                                  1   services.” (Opp. at p. 15.) However, Plaintiffs fail to raise any factual allegations

                                                  2   specific to public performance, such as the channels of the performance, where the

                                                  3   performance went, or how the performance occurred. Moreover, Plaintiffs assume a

                                                  4   systematic pattern of infringement as to all Plaintiffs without stating which properties

                                                  5   were affected in what ways. The legal issues in the case at hand are not established,

                                                  6   and may change if the case were to progress, because Plaintiffs have not alleged

                                                  7   common facts to support their copyright liability theory. This would lead to a large

                                                  8   eight plaintiff case with “personalized attention” required for each plaintiff.
                                                  9         Plaintiffs’ Opposition demonstrates how the Complaint does not arise out of
                                                 10   the same transactions, asking “where Omniverse obtains its live television streaming,
                                                 11   how Omniverse’s streaming operation works, and to whom Omniverse streams.”
                                                 12   (Opp. at p. 15.) Plaintiffs have merely demonstrated that they have similar questions,
                                                      but Plaintiffs still fail to demonstrate that they share similar facts. The only common
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                                                 14   fact Plaintiffs have alleged is Omniverse is involved.
                                                 15         Plaintiffs further contend that the case law case law of On the Cheap LLC v.
                                                 16   Does 1-5011, 280 F.R.D. 500 (N.D. Cal. 2011), and Papagiannis v. Pontikis, 108
                                                 17   F.R.D. 177 (N.D. Ill. 1985), does not apply. In On the Cheap, defendants who all
                                                 18   downloaded the film “Danielle Stab Raw” using the BitTorrent software were
                                                 19   severed. In the Opposition, Plaintiffs claim that On the Cheap does not apply because
                                                 20   Omniverse is “streaming their copyrighted works not downloading different
                                                 21   copyrighted films and television shows.” (Opp. at p. 16 (emphasis removed)
                                                 22   (quotation omitted).) Plaintiffs logic fails because the direction of the downloading
                                                 23   does not change the circumstances. All of the On the Cheap defendants were using
                                                 24   the exact same software platform for the exact same file and the defendants were still
                                                 25   severed. And unlike the defendants Plaintiffs cite from Grokster, Aereo, Napster, and
                                                 26   FilmOn, Omniverse is not redistributing captured television signals over the internet
                                                 27

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                                                  1   and is not a peer-to-peer file sharing network. 1 Moreover, Plaintiffs do not even state

                                                  2   how Omniverse is operating beyond stating that the operation is infringing.

                                                  3          Furthermore, the plaintiffs in Papagiannis were severed despite all the

                                                  4   plaintiffs being defrauded by the same individual. The Opposition states that

                                                  5   Papagiannis does not apply because each individual fraud claim required

                                                  6   “individualized proof.” Papagiannis, 108 F.R.D. at 179. Here, Plaintiffs have

                                                  7   demonstrated that each case will require individualized proof because Plaintffs do

                                                  8   not know “where Omniverse obtains its live television streaming, how Omniverse’s
                                                  9   streaming operation works, and to whom Omniverse streams.” (Opp. at p. 15.) Each
                                                 10   alleged broadcast may have individualized facts specific to that work. Plaintiffs hope
                                                 11   that all of their claims against Omniverse will arise out of the same transaction,
                                                 12   occurrence, or series of transactions or occurrences without stating how.
                                                             Thus, the Complaint does not allege a copyright claim that arises out of the
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                                                 14   same transaction, occurrence, or series of transactions or occurrences. For these
                                                 15   reasons, the Court should grant the motion to sever Plaintiffs.
                                                 16          C.     The Complainant’s References to Dragon Box Should be Stricken
                                                 17          Plaintiffs fail to explain in their Opposition what is their purpose in mentioning
                                                 18   Dragon Box when it is not even a defendant. The only apparent purpose for Plaintiffs
                                                 19   to mention Dragon Box is that Dragon Box is a well-known pirate that submitted to
                                                 20   a settlement of $14.5 billon before this Court. See Netflix Studios, LLC v. Dragon
                                                 21   Media Inc., 2:18-cv-00230-MWF-AS.2 Dragon Box is not, as Plaintiffs contend, an
                                                 22   appropriate analogy because of a “business relationship” (Opp. at p. 11) nor is
                                                 23
                                                      1 Am. Broad. Cos. v. Aereo, Inc., 573 U.S. 431 (2014); Metro-Goldwyn-Mayer Studios Inc. v.
                                                 24   Grokster, Ltd., 545 U.S. 913 (2005); Fox Televisions Stations, Inc. v. Aereokiller, LLC (FilmOn),
                                                      851 F.3d 1002 (9th Cir. 2017); A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004 (9th Cir.
                                                 25   2001).
                                                      2 See Netflix, Amazon, & Hollywood Settle Their Lawsuit With The “Kodi Box” Maker Dragon
                                                 26
                                                      Box (May 8, 2018), available at https://www.cordcuttersnews.com/netflix-amazon-hollywood-
                                                 27   settle-their-lawsuit-with-the-kodi-box-maker-dragon-box; Netflix, Amazon, and Hollywood
                                                      studios shut down maker of “free TV” box (May 8, 2018), available at
                                                 28   https://arstechnica.com/tech-policy/2019/01/free-tv-box-maker-agrees-to-shut-down-and-pay-14-
                                                      5m-to-copyright-holders/; et al.
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                                                  1   Dragon Box a relevant to the claims as Plaintiffs suggest because Dragon Box is not

                                                  2   involved nor similar to Omniverse’s operations.

                                                  3                1.     Plaintiffs Have No Adequate Justification for Comparing

                                                  4                       Omniverse to Dragon Box

                                                  5         Plaintiffs claim in their Opposition that the comparisons between Dragon Box

                                                  6   and Omniverse are not cruelly derogatory because of a “business relationship” that

                                                  7   once existed (but no longer) between Omniverse and Dragon Box. (Opp. at p. 11.)

                                                  8   However, this statement ignores the fact that Dragon Box was pirating using Kodi
                                                  9   “illicit addons such as Covenant” not affiliated nor connected to Omniverse. Netflix
                                                 10   Studios, LLC v. Dragon Media Inc., No. CV 18-230-MWF (ASX), 2018 WL
                                                 11   7891027, at *1 (C.D. Cal. Dec. 21, 2018). Plaintiffs’ “business relationship”
                                                 12   justification assumes that Omniverse operates in the same way as every entity with
                                                      which it has ever done business. According to Plaintiffs’ logic, a vendor that sells a
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                                                 14   widget to a criminal is thus a criminal by association.
                                                 15         Plaintiffs’ “business relationship” justification hides the real reason why
                                                 16   Dragon Box is referred to multiple times in the Complaint even though Dragon Box
                                                 17   was effectively shut down before the Complaint was even filed: Dragon Box is a
                                                 18   well-known pirate and Plaintiffs want to associate Omniverse with piracy. Omniverse
                                                 19   cannot avoid prejudice from Plaintiffs’ associating Omniverse with Dragon Box
                                                 20   because this association assigns guilt.
                                                 21                2.     Dragon Box is Not Relevant to Omniverse’s Liability
                                                 22         In the Opposition, Plaintiffs state that Dragon Box “is relevant to Omniverse’s
                                                 23   liability, and state of mind for damages.” (Opp. at p. 12.) However, this has no
                                                 24   possible bearing on the subject matter because Omniverse and Dragon Box are
                                                 25   distinct entities with different modes of operation. Plaintiffs are alleging complaints
                                                 26   against Omniverse, not Dragon Box. Moreover, Dragon Box committing copyright
                                                 27   infringement in the past on its own does not mean that Omniverse committed
                                                 28   copyright infringement while having a “business relationship” with Dragon Box.

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                                                  1   This is purely guilt by association. According to Plaintiffs, Omniverse’s scienter is

                                                  2   established by those Omniverse did business with independent of the factual

                                                  3   transactions. However, plaintiffs allege no factual connection between Dragon Box

                                                  4   and the other entities Omniverse does business with.

                                                  5          Thus, the Complaint’s comparisons of Dragon Box to Omniverse are

                                                  6   scandalous because they cast Omniverse in a cruelly derogatory light and immaterial

                                                  7   because they have no possible bearing on the subject matter. For these reasons, the

                                                  8   Court should grant the motion to sever Plaintiffs.

                                                  9   III.   CONCLUSION
                                                 10          For the foregoing reasons, the Court must grant Omniverse’s motion (1) to
                                                 11   sever Plaintiffs, (2) for a more definite statement, and (3) to strike scandalous and
                                                 12   immaterial material from the Complaint.
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                                                 14                                          Respectfully submitted,
                                                 15                                          TROJAN LAW OFFICES
                                                 16                                          By
                                                 17   May 10, 2019                           /s/ R. Joseph Trojan
                                                 18                                          R. Joseph Trojan
                                                                                             Attorney for Omniverse One World
                                                 19                                          Television, Inc. and Jason M. Demeo
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